30 F.3d 130
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Danny Galen PENICK, Plaintiff Appellant,v.Doctor H. OZINAL;  Doctor Gardella;  Robert Beauchamp;  MarySager;  Steve Hollar;  Faye W. Mccauley,Defendants Appellees.
    No. 94-6458.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 23, 1994Decided:  July 25, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Samuel G. Wilson, District Judge.  (CA-93-465-R)
      Danny Galen Penick, Appellant Pro Se.
      Colin James Steuart Thomas, III, Timberlake, Smith, Thomas &amp; Moses, P.C., Staunton, Virginia;  Mark Ralph Davis, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Penick v. Ozinal, No. CA-93-465-R (W.D.Va. Mar. 31, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    